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                     UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                            ROME DIVISION
 Coosa River Basin Initiative; Raymond
 J. Perkins, Jr.; J. Perkins Farms, LLC,

                           Plaintiffs,
                                               Civil Action No. 4:25-cv-00075-AT
                    v.

 3M Company, et al.,

                           Defendants.


                   OMNIBUS RESPONSE IN OPPOSITION
                   TO DEFENDANTS’ MOTIONS TO STAY

                                INTRODUCTION
      This case is not duplicative—it is one of a kind. It is the only action that

seeks judicially enforceable remediation of Dalton Utilities’ LAS, taking up the

mantle from its predecessor, Johnson v. 3M Company. That case laid the

groundwork but fell short on standing; Plaintiffs now fill that gap. Through both

federal and common law, they seek a court-ordered end to the PFAS contamination

and injunctive relief to address the source—relief no other case requests and no

agency pursues.

      And it is long overdue. Decades of unchecked discharges have left

downstream properties contaminated, wildlife and ecosystems degraded, and tens

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of thousands exposed to toxic PFAS, including many who avoid the surrounding

environment altogether as a result. With no historical or looming agency

intervention to bring this to a halt, Plaintiffs continue this necessary work that

began nearly six years ago.

       Dalton Utilities now seeks to derail that effort, warning of “conflicting

remediation orders” with its own case. But it does not even seek remediation, and

it cannot do so under CERCLA. It seeks money and allocation—cost recovery for

consultants and speculative future expenses, untethered to any agency

involvement, identifiable plan, or enforceable obligation. That does not pose a

conflict, but leaves a void that Plaintiffs seek to fill.

       Dalton Utilities seeks de facto control over remediation—with no plan, no

enforceable obligation, and no direct responsibility for the harm it has caused for

decades. It is, albeit cliché, the fox asking to guard the henhouse. And it is not a

close call. A stay would not preserve judicial resources; it would delay the only suit

that can compel remediation. It would not avoid conflict but enable inaction. And it

would not serve equity; it would protect the source of the harm and sideline those

forced to live with it. That outcome defies both the letter and spirit of every

environmental law at issue.



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      The path forward is not to halt this suit—but to let it proceed. This is the role

citizen suits were designed to play: to step in when government fails to act, and to

secure relief where no other mechanism is moving. Plaintiffs do not deny Dalton

Utilities’ role in any eventual remedy, and any injunctive relief will necessarily

weigh all interests and engage regulators. And that is not even a potential conflict.

It is the system working as the law intends.

                                 BACKGROUND
      The path to this case was paved by nearly six years of litigation in this

Court. It is the natural successor to Johnson v. 3M Company—a multi-year

environmental class action brought on behalf of Rome, Georgia drinking water

customers harmed by decades of upstream PFAS pollution originating from

Dalton’s carpet industry. Mr. Johnson pursued complex claims against most of the

same Defendants here. The case demanded tens of thousands of hours of legal

work, culminating in more than 100 depositions, producing millions of pages of

documents, site inspections, testimony of over 40 experts, extensive motion

practice and hearings, and a comprehensive remediation plan. Through these

efforts, Johnson marshalled the scientific and factual record necessary to prove

environmental fate, causation, and liability in a case that Defendants—including

Dalton Utilities—vigorously contested at every stage.


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      Johnson’s most hotly contested issue was its request for injunctive relief:

remediation of Dalton Utilities’ 9,800-acre Riverbend Land Application System

(“LAS”)—the known epicenter of PFAS discharges into the Conasauga River. See

generally Johnson v. 3M Co., Order on Motions for Summary Judgment, Doc.

1616, No. 4:20-cv-8-AT (N.D. Ga. Dec. 10, 2024) (“Johnson MSJ Order”). This

Court acknowledged that PFAS discharges from the LAS posed real harms. Id. at

39. But it held that Mr. Johnson, a Rome water ratepayer, lacked standing to seek

injunctive relief after Rome announced that it would install reverse osmosis water

treatment and rescinded PFAS-related water rates. Id.

      As this Court emphasized, the issue was not whether harm downstream of

Dalton existed, but who could redress it. “Standing is not dispensed in gross,” and

Mr. Johnson himself had “not suffered a concrete, particularized injury that would

be redressable by comprehensive remediation of the Dalton LAS.” Id.

      That shortcoming is now resolved. Plaintiffs here include CRBI—the Rome-

based riverkeeper for the Upper Coosa River Basin with members who use and

enjoy the river directly—and Mr. Perkins, who owns farmland and a residence on

the Conasauga riverbanks downstream from the LAS. Doc. 1, at ¶¶ 32-37. His

property is contaminated with extraordinarily high PFAS levels, including over

1,000 ppt of PFOS in floodplain runoff and 27,000 ppt in soil samples. Id. at ¶ 37.

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Together, Plaintiffs represent the exact kind of party this Court found to have

standing to pursue remediation. See Johnson MSJ Order, No. 4:20-cv-8-AT, Doc.

1616, at 38-39. Their claims build directly on the extensive groundwork laid in

Johnson. Indeed, the same counsel now prosecutes CRBI, drawing on nearly all of

the factual and expert evidence already assembled.

      Despite the scale and urgency of the contamination, neither state nor federal

regulators have taken any enforcement action to remediate the LAS or address

PFAS contamination in the Conasauga River—either before Johnson or since. In

2002, EPA objected to Georgia’s failure to require a National Pollutant Discharge

Elimination System (“NPDES”) permit for the LAS, but never followed up.

Johnson Doc. 1218-10, L. Rush Depo., at 1567:7-22. From 2009 to 2016, EPA

helped assess the extent of PFAS contamination in the LAS and the Conasauga

River, see Johnson Doc. 1403-1, Plaintiff’s Statement of Facts, ¶ 131, yet it took

no enforcement action, required no remediation, and never mandated NPDES

permitting for the discharges. The Georgia Environmental Protection Division

(“EPD”) has likewise taken no action—neither to remediate the LAS nor to reduce

PFAS levels in the river to meet drinking water standards. See Doc. 60-2, ¶ 163;

Johnson Doc. 1218-10, L. Rush Depo., at 1570:8-1575:12.



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      Recently, EPA designated PFOA and PFOS as hazardous substances in April

2024, but that event has triggered no shift in agency posture. See U.S. EPA,

Designation of Perfluorooctanoic Acid (PFOA) and Perfluorooctancesulfonic Acid

(PFOS) as CERCLA Hazardous Substances, 89 Fed. Reg. 39124 (May 8, 2024).

And it doesn’t require one according to Dalton Utilities: “That designation doesn’t

require EPA to take action. It doesn’t require Dalton Utilities to take action.”

Johnson MSJ Hearing Transcript, No. 20-cv-8-AT, at 33:12-17 (Apr. 24, 2024). It

further maintained: “As we stand here today, there is no regulatory obligation or

mandate to undertake changes at the LAS.” Id. at 32:18-21.

      CERCLA gives EPA three primary tools for initiating a response action. It

can (1) undertake the response itself and later pursue cost recovery from

potentially responsible parties under Section 107, 42 U.S.C. § 9607; (2) issue a

unilateral administrative or judicial order under Section 106(a), 42 U.S.C. § 9606,

requiring a responsible party to abate an “imminent and substantial

endangerment”; or (3) negotiate a settlement with responsible parties under Section

122, 42 U.S.C. § 9622. EPA may only fund a comprehensive response if the site is

listed on the National Priorities List (“NPL”)—a designation reached through a

formal, multi-step assessment process. See, e.g., U.S. EPA, Superfund: CERCLA



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Overview (Oct. 8, 2024)1. EPA has taken none of these steps with respect to the

Dalton Utilities LAS.

      In the absence of any federal or state action under any statute or common

law, there is no other action that seeks judicially-enforceable remediation of the

LAS. This case does: Through its public nuisance and Clean Water Act claims,

Plaintiffs seek court-ordered abatement and injunctive relief to halt unlawful

discharges and compel remediation. Doc. 1, ¶¶ 166-221, 247-265.

      Months before this case commenced, Dalton Utilities filed its own naming

many of the Defendants named here. See City of Dalton, Georga v. 3M Co., No.

4:24-cv-293WMR, Doc. 1. That action asserts claims for cost recovery and a

declaratory judgment under CERCLA, in addition to common-law claims based on

PFAS contamination of Dalton Utilities’ POTW. See CRBI Doc. 60-2 (First

Amended Complaint). Notably, Dalton Utilities does not seek injunctive relief or

court-ordered remediation of the LAS or any other portion of its POTW. See id. at

¶¶ 174-281, Prayer for Relief ¶¶ a-i. Instead, it alleges incurring consulting costs

and that it will incur remediation costs that it might voluntarily undertake in the

future. See id. at ¶¶ 170-173, 178, 185, 214, 228-229, 248, Prayer for Relief ¶¶ a-c.



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 available at https://www.epa.gov/superfund/superfund-cercla-overview (last
visited June 25, 2025).
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Its complaint outlines no cleanup plan, proposes no performance standards, and

identifies no oversight mechanism. See generally id. Nor does it allege EPA

involvement in any way. See generally id.; see also id. at ¶ 163 (“Neither EPA nor

EPD took any action with respect to PFAS at the LAS.”).

      Nonetheless, Dalton Utilities now seeks to stay CRBI on grounds that it risks

“duplicative litigation” and “conflicting remediation orders” with its own “more

comprehensive” CERCLA action. Doc. 60-1, 1-2. It further insists that it has a

superior interest in LAS remediation—despite decades of contamination affecting

the environment and tens of thousands living downstream. See id. Other

Defendants have filed their own motions echoing Dalton Utilities’ arguments. See

generally Docs. 76, 104.

                                    ARGUMENT

A.    Dalton Utilities’ suit seeks no “remediation order” and no “disposition
      of property.”
      Dalton Utilities’ motion primarily invokes Colorado River abstention but

applies it to a fictional problem. It warns of “duplicative litigation” and

“conflicting remediation orders,” Doc. 60-1, at 9-11, but it cites no fact or law that

substantiates these risks. While Colorado River abstention permits a range of

considerations, see Colo. River Water Conservation District v. U.S. 424 U.S. 800,



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818-19 (1976), Dalton Utilities leans on contingencies that do not—and on this

record, cannot—exist.

        Start with the CERCLA relief Dalton Utilities seeks—and what the law

allows. It asserts two such claims: (1) recovery under 42 U.S.C. § 9706(a)(4)(B),2

for costs that it “has incurred and will incur” in response to alleged hazardous

substance disposal; and (2) declaratory relief under § 9613(g)(2),3 assigning future

cost liability to Defendants. Doc. 60-2, ¶¶ 174-188.

        Missing from both is any request for a remediation order, disposition of

property, or any other mechanism that would authorize judicially-enforceable

action. See Doc. 60-1, at 88-91. And that is no accident: Only the federal

government can wield CERCLA to compel remediation or seek injunctive relief.

See 42 U.S.C. §§ 9604, 9606(a). States and private parties do not have this

authority. State of Colo. v. Idarado Min. Co., 916 F.2d 1486, 1489 (10th Cir. 1990)

(“Courts have adhered to the view that injunctions are not available to states and

other non-federal plaintiffs under CERCLA, even after the 1986 SARA

amendments”) (compiling cases), cert. denied, 499 U.S. 960; Smith v. City of

Conyers, GA, 2007 WL 313467, at *6 (N.D. Ga. Jan. 30, 2007) (“[T]here is no



2
    Also referenced as CERCLA Section 107(a).
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    Also referenced as CERCLA Section 113(g)(2).
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private right of action for injunctive relief under CERCLA”) (citing Idarado, 916

F.2d at 1492-93). Dalton Utilities’ complaint reflects that limit because it cannot

ask for more. See Doc. 60-2

      While Dalton Utilities may recover response costs that it proves necessary

and consistent with the National Contingency Plan (NCP), that remedy does not

reach as far as its allegations. The complaint seeks costs that it “has incurred or

will incur” under Section 107(a). Doc. 60-2, ¶ 180 ; Prayer for Relief, ¶ a) (same).

But by the statute’s plain terms, only “incurred” costs are within reach. 42 U.S.C. §

9607(a)(4)(B); see also Santa Clarita Valley Water Agency v. Whittaker Corp., 99

F. 4th 458, 483 (9th Cir. 2024) (“Future response costs, not yet incurred, are not

recoverable under CERCLA.”); Lozar v. Birds Eye Foods, Inc., 678 F. Supp. 2d

589, 608 (W.D. Mich. 2009) (“CERCLA does not authorize the recovery of costs

to be incurred in the future.”) (citations omitted). According to its own complaint,

the only costs incurred are for technical consultants. Doc. 60-2, ¶¶ 170-71. Even if

it prevails on the merits, Dalton Utilities’ only recovery is those costs—not

remediation, not cleanup, and nothing that compels Dalton Utilities to take any

action at the LAS.4


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 This would remain true even if Dalton Utilities had incurred costs beyond
preliminary investigation. CERCLA Section 107(a) authorizes reimbursement of
necessary and NCP-consistent response costs—not judicial oversight or
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      The Carpet Companies argue otherwise, conflating Dalton Utilities’ request

for future cost recovery with Plaintiff’s request for injunctive relief—calling them

“identical” simply because both reference remediation. Doc. 104-1, at 2-3

(comparing Dalton Utilities’ request for “all necessary response costs incurred and

to be incurred and Plaintiff’s request for injunctive relief) (emphasis in original).

Response costs and injunctions are not the same, see Idadaro, 916 F.2d at 1489,

but that distinction needs no elaboration here: the future costs the companies

equate with injunctive relief are not even at issue. 42 U.S.C. § 9607(a)(4)(B);

Whittaker Corporation, 99 F. 4th at 483; Lozar, 678 F. Supp. 2d at 608. They

support their position with 40 C.F.R. § 304.12(o), but that citation is irrelevant and

misleading. Doc. 104-1, at 3 n.2 (citing “response cost” definition for the

suggestion that future costs “to be incurred” are recoverable). The regulation

defines “response costs” for EPA arbitration—and only for costs “incurred by the

United States.” Id. at §§ 304.10, 304.11, 304.12(o). It has no bearing here and no

relevance to Dalton Utilities’ claims.

      Dalton Utilities also seeks a declaratory judgment under CERCLA Section

113(g)(2) establishing Defendants’ liability for future response costs. See Doc. 60-



enforcement of cleanup actions. That remedy resides solely with the United States.
See 42 U.S.C. § 9606(a); Idadaro, 916 F.2d at 1489.
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2, ¶¶ 182-188. While CERCLA permits this, see 42 U.S.C. § 9613(g)(2), that

remedy carries the same limits as Dalton Utilities’ Section 107(a) claim: it does not

authorize a remediation order, and any future costs must first be actually incurred

and—if so—proved both necessary and consistent with the NCP in more litigation.

See id. at §§ 9607(a)(4)(B), 9613(g)(2).

      All told, Dalton Utilities never asks for a “remediation order,” and CERCLA

wouldn’t allow one even if it did. That leaves only its common-law claims. But

even there—where a nuisance theory could support court-ordered remediation—

Dalton Utilities does not seek it.5 See Doc. 60-2, ¶¶ 205-217, Prayer for Relief. As

it stands, a “remediation order” is not just conjecture—it is legally impossible. And

without one, the risk of conflict is illusory.

      Because there will be no property to dispose of in either case, Colorado

River’s concern with “inconsistent dispositions of property” is off the table from



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  And these claims are far from secure. Dalton Utilities has known about—and
been complicit in—PFAS contamination of the LAS and Upper Coosa River Basin
since at least 2003. See infra note 11. Its own complaint alleges it detected PFAS
by 2009. Doc. 60-2, ¶ X. Under Georgia law, the statute of limitations for property-
damage torts is four years, O.C.G.A. § 9-3-30, and begins to run when the plaintiff
“could first have maintained [his or] her action to a successful result.” Colormatch
Exteriors, Inc. v. Hickey, 569 S.E.2d 495, 497 (Ga. 2002). Attempting to extend
accrual by alleging a continuing nuisance only broadcasts a remarkable
contradiction: Dalton Utilities maintained in Johnson that the PFAS contamination
coming from its LAS was permanent and unabatable.
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the start. Nor would that abstention factor apply here in any event. Dalton Utilities

concedes that this is not an in rem proceeding (nor is its own), and it disclaims any

argument that this Court lacks jurisdiction on that basis. Doc. 60-1, at 9. Still, it

contends that “the same reasoning underlying the jurisdictional rule” should apply

as a prudential matter. Id. (quoting Colorado River, 424 U.S. at 819). Id. (quoting

424 U.S. at 819). But jurisdictional or prudential, the distinction makes no

difference—in personam actions risk no “inconsistent disposition of property.”

      As the Eleventh Circuit explains, “[t]his Colorado River factor asks if one

court assumed jurisdiction over property before the other court.” Jackson-Platts v.

General Elec. Capital Corp., 727 F.3d 1127, 1141 (11th Cir. 2013) (emphasis

added) (citing Am. Bankers Ins. Co. of Fla. v. First State Ins. Co., 891 F.2d 882,

884-85 (11th Cir. 1990). The Supreme Court has said the same. See Moses H. Cone

Memorial Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 2, 19 (1983) (citing

Colorado River, 424 U.S. at 818-19). And the Eleventh Circuit is clear on its

limits: it “applies only where there is a proceeding in rem.” Jackson-Platts, 727

F.3d at 1141 (citing Ambrosia Coal, 368 F.3d at 1332). By Dalton Utilities’

admission, that is not the case here—and “this factor cannot favor abstention.” Id.




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      Dalton Utilities also invokes the risk of piecemeal litigation, but it never

explains what that entails.6 Doc. 60-1, at 10-11. Instead, it recycles the same

“conflicting orders” speculation where that is not possible. Id. at 11. Even

declaratory relief would merely provide a framework for shifting response costs

that Dalton Utilities may choose to incur. That is not a judicial directive to

remediate; it is a contingent cost-allocation mechanism.

      With no request for remediation and no authority to compel it, the specter of

conflicting rulings is no basis for a stay. Dalton Utilities’ own authorities illustrate

the point. It cites Melton Props., LLC v. Ill. Cent. R.R. Co., where the court stayed

injunctive relief sought under the CWA and RCRA pursuant to primary

jurisdiction. Doc. 60-1, at 9-10 (citing 539 F. Supp. 3d 593, 611 (N.D. Miss.

2021)). But Dalton Utilities omits the reason: a state agency was actively engaged

in directing remediation under a formal schedule. Melton Properties, 539 F. Supp.



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  Dalton Utilities identifies no discrete or genuine duplicative issues that remain to
be litigated. See Doc. 60-1, at 8-11. In fact, nearly all discovery and expert work
necessary here has already been completed in Johnson—on causation,
environmental fate, allocation, and related topics. Discovery related to Mr. Perkins,
his farm, and CRBI has no bearing on Dalton Utilities’ case. The Carpet
Companies nonetheless argue that the lack of discovery and trial date here supports
a stay. See Doc. 104-1, at 2 n.1. But that argument fails twice over: the core
discovery has already been done here, and Dalton Utilities’s case has not
proceeded to discovery either. If the companies’ reasoning applied at all, it would
apply doubly to Dalton Utilities.
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at 610-11. Its reference to U.S. v. Sunoco, Inc. is even more to the point: the court

rejected the risk of conflicting orders because the defendant failed to show one.

644 F. Supp. 2d 566, 579-580 (E.D. Pa. 2009). The same result should follow

here—Dalton Utilities identifies no active remediation, much less any agency-led

efforts, and no potential conflict. See Forest Park Nat’l Bank & Trust v. Ditchfield,

881 F. Supp. 2d 949, 973 (N.D. Ill. 2012) (rejecting argument that RCRA

injunction claim would interfere with CERCLA cleanup, noting “[t]here is no

evidence that this litigation is delaying or will delay the completion of an ongoing

cleanup action”) (emphasis added).

B.    CERCLA cannot support a stay absent any EPA-led response action.
      Dalton Utilities next argues that its lawsuit should take precedence because

CERCLA facilitates a “unified” and “comprehensive” approach to remediation and

liability. Doc. 60-1, at 11-15. But its argument misappropriates the authority that

Congress gave only to EPA and substitutes conjecture for actual agency

involvement.

      First, Dalton Utilities invokes the scope and supremacy of CERCLA’s EPA-

led regime while bypassing the very process that grants those attributes. In the

abstract, it gestures toward CERCLA’s “comprehensive” and “uniform” design, see




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Doc. 60-1, at 11-13, but those features arise from a specific and mandatory

procedure that must be initiated by EPA and EPA alone:

      1.     A Remedial Investigation and Feasibility Study to determine whether
             CERCLA action is required see 42 U.S.C. § 9604(a); 40 C.F.R. §
             300.430(d)-(e), and if so;

      2.     a Remedial Action Plan, subject to public notice and comment, see 42
             U.S.C. § 9617(a); 40 C.F.R. § 300.430(f), and;

      3.     if EPA adopts a plan, implementation in one of three ways:
             (a)   EPA performs the work itself;

             (b)   it compels potentially responsible parties to act via
                   administrative order or injunction; or

             (c)   it enters a consent agreement with those parties requiring those
                   parties to carry it out. See 42 U.S.C. § 9622; 40 C.F.R. §
                   300.515.
This framework is not optional—it’s what gives CERCLA its force. See Atl.

Richfield Co. v. Christian, 590 U.S. 1, 6 (2020); W. Va. State Univ. Bd. of

Governors v. Dow Chemical Co., 23 F.4th 288, 306 (4th Cir. 2022); Broward

Gardens Tenants Ass’n v. U.S. E.P.A., 311 F.3d 1066, 1071 (11th Cir. 2002). And

none of it has happened here.

      CERCLA’s “comprehensive” scope and enforcement tools flow from EPA

oversight and formal action—not private lawsuits. See, e.g., 42 U.S.C. §§ 9604

(authorizing EPA to undertake, require, and approve response actions), 9606(a)

(authorizing EPA and DOJ to seek abatement of releases or threatened releases),

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9613(h) (stripping jurisdiction only for challenging removal or remedial actions

selected by EPA under §§ 9604 or 9606(a)); see also Holt-Orsted v. City of

Dickson, 2009 WL 10679423, at *29 (M.D. Tenn. Mar. 25, 2009) (“Congress made

cleanup actions by responsible parties preclusive of citizen suits only when the

responsible party’s cleanup was pursuant to an EPA administrative order.”)

(emphasis added).

      Dalton Utilities invokes that regime rhetorically but does not—and cannot—

allege that it applies. EPA has not undertaken, directed, or approved any action

here. While it may authorize private parties to carry out response actions, see 42

U.S.C. § 9622, that has not happened either. So the fact remains: This is not an

EPA-led response, and Congress did not empower Dalton Utilities, or anyone else,

to unilaterally invoke CERCLA’s authority to compel or assert exclusive control

over remediation. See 42 U.S.C. §§ 9604, 9606(a), 9613(h); Idarado, 916 F.2d

1486, 1489; Smith, 2007 WL 313467, at *6.

      Despite emphasizing CERCLA’s potential jurisdiction-stripping under

Section 113(h), Dalton Utilities disclaims any jurisdictional challenge. See Doc.

60-1, at 10–11 (citing 42 U.S.C. § 9613(h)). Rightly so—and that should be

conclusive. Section 113(h) applies only when both are conditions are met: (a) EPA

has selected or approved a removal or remedial action, and (b) a competing lawsuit

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would “challenge” that action by interfering with its implementation. See 42

U.S.C. § 9613(h); Broward, 311 F.3d at 1072. Neither exist here. Broward, 311

F.3d at 1073 (“[W]here a suit does not call into question the selected EPA remedial

or removal plan, the suit is not a ‘challenge under section 113(h).”); see also

StarLink Logistics, Inc. v. ACC, LLC, 101 F.4th 431, 450 (6th Cir. 2024) (rejecting

Section 113(h) application where consent order “was not enacted pursuant to

CERCLA” and “is not a removal or remedial action under §§ 104 and 113(h)”).

      Unable to satisfy Section 113(h), Dalton Utilities instead leans on its

hypothetical reach to support abstention. See Doc. 60-1, at 14-15. It suggests a

doubly speculative chain of logic—asking the Court to assume both that EPA

might someday get involved and that, if it does, Plaintiffs’ claims might then

interfere.7 Id. From that layered speculation, Dalton Utilities draws the wrong

conclusion: that a stay is warranted. But the logic is backwards. When the

exception does not apply, the rule controls: this Court has jurisdiction. Broward,




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  What Dalton Utilities implies, the Carpet Companies argue outright: that Section
113(h) would divest jurisdiction if EPA were to intervene in Dalton Utilities’
private CERCLA suit—in the absence of even a hint of preliminary involvement.
See Doc. 104-1, at 4-5 n.4; but see Dow, 23 F.4th at 306 (rejecting speculation
about future EPA involvement and explaining that it first “would be required to
comply with a lengthy and detailed procedure”). Section 113(h) does not bar suits
based on conjecture—and it does not counsel a stay.
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311 F.3d at 1072; Holt-Orsted, 2009 WL 10679423, at *29. A stay should not

backdoor the opposite—and unintended—result.

      CERCLA does not authorize Dalton Utilities to monopolize remediation or

wield it against the public downstream. It expressly disclaims preemption, see 42

U.S.C.§ 9614, and there can be no challenge that strips jurisdiction absent EPA

involvement. Id. at § 9613(h). And that logic should not be inverted to justify a

stay. In fact, EPA’s absence counsels the opposite. Where it has taken no action at

the LAS, Plaintiffs’ claims “serve[] the very gap-filling purpose for which citizen

suits were designed.” Forest Park, 881 F. Supp 2d at 972; see also Browning v.

Flexsteel Indus., Inc., 959 F. Supp. 2d 1134, 1155 (N.D. Ind. 2013) (where no EPA-

led “removal or remedial actions have been selected or are under active

consideration, litigation may serve to accelerate, rather than delay, clean up

efforts”); cf. Johnson v. 3M, 563 F. Supp. 3d 1253, 1334 (N.D. Ga. 2021) (CWA’s

“citizen suit provision strikes ‘a balance between government and private

enforcement by allowing citizens to bring suit against polluters”) (citation

omitted).

C.    Dalton Utilities’ operational interests are not superior to and do not
      displace the public’s or Plaintiffs’ right to be free from PFAS
      downstream.



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      Finally, Dalton Utilities seeks a stay on grounds that it, not Plaintiffs, is “the

entity that has the greatest interest in any remediation plan” affecting the LAS.

Doc. 60-1, at 18. It claims that as the “property owner,” “provider of municipal

wastewater services,” and a permittee accountable to ratepayers and industrial

users, it alone has superior interests in “developing a remedial plan.” Id. In

contrast, it argues that Mr. Perkins and his farm are merely out to “protect[] their

own property interests,” downplaying the broader public interests that they and

CRBI represent. Id.

      That framing flips reality. By its own words and allegations, Dalton Utilities

seeks primarily to protect its own property and financial interests—silent as to

those downstream and its own complicit role in the PFAS contamination. 8 See

generally Doc. 60-2; see also id. at ¶¶ 205-217 (alleging only private and not

public nuisance). Plaintiffs, by contrast, bring claims on behalf of the broader

public—those who use and depend on the Coosa River Basin, those exposed to


8
  Dalton Utilities has spent much of its existence knowingly allowing industrial
pollutants to contaminate the Conasauga River while prioritizing its own
interests—and those of the carpet industry—over environmental stewardship and
the safety of downstream communities. See Johnson Doc. 1403-1, ¶¶ 75, 81-82,
84, 131-132, 153-155, 319-404. As shown in Johnson, Dalton Utilities knew of
PFAS discharges into and from its facilities since at least 2003, if not earlier. Id. at
319-404. Yet it continued land application and surface water discharges of PFAS-
laden effluent—all while collaborating with the very parties it now sues to delay
public awareness and regulatory scrutiny for years. See id.
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PFAS discharges, and those harmed by decades of unchecked pollution. See Doc.

1, ¶¶ 32-33, 256-265. That is the nature of public nuisance. See O.C.G.A. §§ 40-1-

1, -2; Johnson, 563 F. Supp. 3d at 1335, 1337-38 (N.D. Ga. 2021) (compiling

Georgia pollution cases). That is the purpose of citizen suits. S. River Watershed

All., Inc. v. DeKalb Cnty., Georgia, 484 F. Supp. 3d 1353, 1363 (N.D. Ga. 2020),

aff'd, 69 F.4th 809 (11th Cir. 2023) (“A private citizen's ability to file suit ‘is a

critical component of the CWA’s enforcement scheme, as it permits citizens to

abate pollution when the government cannot or will not command compliance.’”)

(citations omitted). And it’s what Dalton Utilities’ own lawsuit pointedly fails to

provide.

       Dalton Utilities links its remedial interests to compliance and operational

obligations. Doc. 60-1, at 16-17. But that does not give it priority over those

harmed by its discharges. If anything, it underscores Dalton Utilities’ role in the

pollution—and its longstanding failure to address it. It also argues that Plaintiffs

have “no sense of what engineering controls . . . are feasible,” id., but that is

neither accurate nor relevant. Plaintiffs’ counsel have conducted extensive site

inspections, and their experts have already evaluated and designed a remediation

plan. In any event, the standard for pursuing a remedy is not operational

familiarity—it is whether Plaintiffs have been harmed and whether relief is

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available. See Friends of the Earth, Inc. v. Laidlaw Envtl. Servs., 528 U.S. 167,

180-81 (2000). Environmental laws were designed to prevent pollution—not to

empower polluters to dictate the scope of the remedy for their own self interests.

See, e.g., Conservation Law Foundation, Inc. v. Exxon Mobil Corp., 3 F.4th 61, 70

(1st Cir. 2021 (“[C]itizen suit provisions demonstrate circumstances where

Congress wanted to allow individuals to bring lawsuits, even where an agency has

some authority.”).

      Plaintiffs are not interlopers in someone else’s cleanup. They are the only

ones asking the Court to compel one. Their claims invoke precisely the

mechanisms that Congress and the common law provide when government does

not act—and no parallel case does. In sum, Dalton Utilities asks the Court to

sideline those suffering the consequences of contamination in favor of the entity

that caused it—despite offering no enforceable remedy of its own. The only

appropriate answer is no.

      But there is a sensible and legally consistent path forward. Plaintiffs do not

dispute that Dalton Utilities has legitimate interests in any eventual remedy. Its

ratepayers matter, and so does feasibility. But those interests do not outweigh—let

alone displace—the rights of downstream communities to use and enjoy the

environment and their properties without toxic PFAS exposure, or Plaintiffs’ right

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to seek judicial relief to secure their protection. Any injunctive remedy issued in

this case will necessarily contemplate all interests—from practical constraints and

engaging regulators to ensuring that remediation does not compromise essential

public services. The right course is not to halt this suit, but to allow it to fulfill its

intended, gap-filling purpose: accelerate remediation with judicial oversight where

no regulatory process—past or pending—offers an alternative.

                                    CONCLUSION

       There is no agency-led cleanup at the LAS, no conflict, and no basis for

delay. Plaintiffs seek the only judicially enforceable remedy on the table—and they

have the standing, evidence, and legal right to pursue it. The motions to stay should

be denied.

       Respectfully submitted June 25, 2025.

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                     CERTIFICATE OF COMPLIANCE
      Pursuant to Northern District of Georgia Civil Local Rule 7.1.D., the

undersigned counsel certifies that the foregoing filing is prepared in Times New

Roman 14-point font, as mandated in Local Rule 5.1.C.


This 25th day of June, 2025.


                                           /s/ Brett C. Thompson




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                         CERTIFICATE OF SERVICE
      I certify that a true and correct copy of the foregoing has been filed

electronically with the Clerk of the Court by using the CM/ECF system which will

automatically email all counsel of record.


This 25th day of June, 2025.

                                             /s/ Brett C. Thompson




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